                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 19-3174-01-CR-S-MDH
                                                   )
MICHAEL MILLIMAN,                                  )
                                                   )
                          Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Superseding

Information filed on April 19, 2021, is now Accepted. The Defendant is Adjudged Guilty of such

offense. Sentencing will be set by subsequent Order of the Court.




                                                       /s/Douglas Harpool
                                                          DOUGLAS HARPOOL
                                                   UNITED STATES DISTRICT JUDGE




Date: June 1, 2021




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